Case 2:20-cv-01448-WSS Document 68 Filed 10/26/21 Page 1 of1

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 

MEGAN FOX and BRIDGET MCMAHON,
on behalf of themselves and all others
similarly situated,

Plaintiffs,
CIVIL ACTION NO. 2:20-cv-01448-WSS
v.

CHIPOTLE MEXICAN GRILL, INC., t/d/b/a
CHIPOTLE,

Defendant.

 

 

[PROPOSED]
ORDER GRANTING UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE
RESPONSE TO PLAINTIFFS’? MOTION TO COMPEL DISCOVERY RESPONSES

Pending before the Court is Defendant’s Unopposed Motion for Extension of Time to File
Response to Plaintiffs’ Motion to Compel Discovery Responses. Having considered the Motion
and all other matters of record, for good cause shown JT IS HEREBY ORDERED that the Motion
is GRANTED. Defendant shall be required to file its response to Plaintiffs’ Motion to Compel
Discovery Responses (Doc. 60) no later than Monday, November 1, 2021.

BY THE COURT:

    

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Date WILLIAM S. STICKMAN IV
UNITED STATES DISTRICT JUDGE

 

{Signature-of-Counsel.on Follawing Page.]
